
Per curiam.
Clifford J. Bond III filed his petition for the voluntary surrender of his license to practice law. In his petition he admitted he was convicted of having violated 47 USC 301, 305 (operating a radio transmitter without a permit) and 18 USC 1341, 1343 (wire and mail fraud) in the United States District Court for the Northern District of Georgia. He further admitted his conduct constitutes a violation of Standard 66 of Bar Rule 4-102 (conviction of a crime involving moral turpitude).
The State Disciplinary Board recommends acceptance of the voluntary surrender of license. We concur.
The name of Clifford J. Bond III is hereby stricken from the roll of attorneys.

All the Justices concur.

